EXHIBIT
   B
Goldberg, Stuart

From:                               Michael E. Glass <mglass@michaelglasslaw.com>
Sent:                               Tuesday, April 14, 2020 1:06 PM
To:                                 Goldberg, Stuart; Tony
Cc:                                 Ivan Bates; Christopher C. Jeffries; Duke, Neil; Louis P. Malick
Subject:                            Re: April Sims/ Albert Brown
Attachments:                        Albert Brown THIRD COMPLAINT- REDLINE FINAL 4.14.20.pdf; BROWN - CLEAN-FINAL
                                    4.14.20.pdf



Gentlemen,

I hope everyone is staying safe. Attached is a Redline and Clean copy of the Third-Amended Complaint. Thank
you for your patience.

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erroneously received it, and notify the sender by telephone and return e-mail. Thank you.



From: Goldberg, Stuart <sgoldberg@bakerdonelson.com>
Sent: Monday, April 13, 2020 9:16 AM
To: Michael E. Glass <mglass@michaelglasslaw.com>; Tony <tony@batesgarcia.com>
Cc: Ivan Bates <ivan@batesgarcia.com>; Christopher C. Jeffries <CJeffries@kg-law.com>; Duke, Neil
<nduke@bakerdonelson.com>; Louis P. Malick <lmalick@kg-law.com>
Subject: RE: April Sims/ Albert Brown

Good Morning All,

I hope you had a nice weekend and you/yours are safe/healthy.

If you forwarded a copy of the Third Amended Complaint to us, without my knowledge, I
apologize. That said, the Maryland Judiciary Case Search does not reflect the same was
filed. Please note, if we do not receive an Amended Complaint by close of business, tomorrow,
April 14, 2020, we will be filing removal documentation on Wednesday, April 15, 2020. We have
continuously staved off this process by relying on your repeated time lines stating when we
could expect copies of the Third Amended Complaint, but have not received a copy of the same.

Please let me know if you have any questions or concerns. Thank you for your time and
attention to this matter.
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Stuart R. Goldberg
Attorney
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Mobile Phone 443.306.0747




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